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                                                                CIRCUIT COURT OF
                                                          GENEVA ocivmry,ALABAmA
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                                                   ALABAMA
            IN THE CIRCUIT COURT UP GENEVA COUNTY,

MICHAEL HUTCHINGS,
BENEFICIARY. OF
IIITCHAEL HUTCHINGS; DECEASED
                                )     CASE NO. 4V-4018-

SAGICOR INSURANCE CO.,          )     JURY DEMAND

DEFENDANT
                          VERIFIBb COMPLAINT


   c0M4s vrott, Michael Hutchings, son and benefiCiarY of Michael
HutChingsi, deceased insured, by and through undersigned-counsel,
Letta Dillard Gorman, and files his Complaint and Jury. Demand as


   I. JURISDICTION AND VENUE

                                                                  of
1 - '..lurisdicticP is proper undersedtion 12-12-30. Of L-he Code
Alabama. Venue IS proper in this Court pursuant to Section 6-3-7
of the code of 1?a,a1D4ma.
   iI, TEE PARTIES

?- Pilairitiff, MICHAEL HUTCHINGS, is of the full age of malcrity
and' a reSident of the Geneva County, Alabama and the State of
Alabama. .He is the son Of the insured, deceased, Michael
Hutchings, and the designated beneficiary under the Defendant
insurance company policy.

3...SAGICQR INSURANCE COMPANY, is an insurance company authorized
to do and/or doing busineSs in Geheva CoUnty, State of Alabama
and subject to the jurisdiction of this Honorable Court,
("Sagicoe) which at all times pertinent herein was the life
insurer of Michael Hutchings.
   III. FACTUAL BACKGROUND

4. On or about 12/1/2016, the Plaintiff Michael Hutchings
purchased a life insurance policy on his Father, Michael
Hutchings, deceased, from the Defendant Sagicor for the amount
of $100,000 coverage.

5. At all times relevant hereto, plaintiff owned the insUred
policy and made timely payments as prescribed.
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6. At all times material hereto, plaintiff Michael HutchingS had
an, insurance contract in effect with n'Sagicor" for life
insurance on his Fatner, Michael Hutchings. The applicable
insurance contract specifically provided coverage for the death
ihciOeht that cccuTredon March 22, 2011.

1. Following the .insured's death, plaintiff nOtified "Sagicor"
and filed his claim.

8. "Sagicor" denied the claim.

9. "Sagicor" and/or its authOrized agents adviSed the plaintiff
that the policy was not valid due tp the insured proViding false
informatiOn on the application.

10. At all times material hereto, Jolaintiff has, fUlly cooperated
wit4 sagicor and proVided the claim documentation to the best of
his abdlity.
  TV. 404E3 ,0E.. .ACTION
  FIRST CAUSE OF ACTION: BREACH OF CONTRACT

11. Plaintiff realleges and reavers .each and eVery allegation
contained in Paragraphs 1 through 10, as if delineated, here in
extensq.

    Sagicor breaChed its contract of insurance with plaintiff by
Failing to. Promptly and reasonably pay the claim,

13. Any other acts or omissions to be shoWn at trial pn the
merits.


  sitcom. CAUSE OF ACTION: NEGLIGENT MISREPRESENTATION

14, Plaintiff realleges And reavers eacn and every el)..egation
contained in Paragraphs 1 through 13, as if delineated here in,
extenso.

    Sagicor further breached its contract with plaintiff and/or
acted negligently by the following actionsf

A. Failing to reapond to verbal requests and correspondence in a
timQly Manner;

B. 'Failing to propely and timely adjust this Case consistent
with insurance industry standards:.
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C. Failing to prdvide any reasOnable basis for denying paymeht
Gn this cIaim now montht following the incident;

D.         to meet its dpty Owed to plaintiff to engage in good
faith and fair dealings; and

   AhY other egtiont or omissions that will establish bad faith,
breach of cOhtract and/or negligence which will be, proven at the
trial on the merits.


  TS/RD CAUSE OF ACTION: DECLARATORY JUDGMENT

16. Plaintiff realleges and reayera each and every allegation
Contained in Paragraphs 1 thrOugh 15, as if delineated here in
extenso.

17. Plaintiff eeks a declaratory judgment fot the purposes of
determining a queStion of actual controVersy between the patties
concerning his rights, obligations, and covetageS under the
subject policy.

18. Plaintiff seeks a declaration that the, life insurance policy
provideS full insurance coverage fOr death of Michael Hutchings,

  FOTRTO CAUSE. OF ACTION: SPECIFIC PERFORMANCE
1.5. Plaintiff realleges and teaverS each and every allegatiob
contained iri Paragraphs 1 thrbugh 18, as if delineated here in
aktenta..
      $agitor entered into the subject contract of inabrance with
the *plaintiff wherein it clearly and exprestly agreed to provide
i41SurenCe coVerage for the death Of Michael HUtthing4-
21. Plaintiff has noW Suffered the loss of hit 'Father and has
consequently been denied insurance Oenefits.
22 k Plaihtiffpetformed his end of the bargain and it
accOrdingly now entitled to Spetific perforMance of the Lite
inturance contratt,... Tha Court thould therefore require $agicor
tp speCifltalay perform such. agreement.


  FIPT4 CAUSE CI—ACT/ON-1. UNJUST ENRICHMENT
23. Plaintiff realleges and feavers each and every allegation
contained' in Paragraphs 1 through 22, as if delineated here in
extenso-
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24. Despite realizing subStantial premium from plaintiff,
Sagicor ha,s withheld the inSurance proceeds owed to plaintiff
for the death of his Father.
25. SagigOr     therefore been unjustly enriched at plaintiff'S
expenae.


  SIXTH CAUSE OF ACTION:' SAGICOR'S VIOLATION OF TITLE 27   1:47 THE
CODE OF ALABAMA
26. plaintiff realleges and reavers each and every allegation
contained in Paragraphs 1 through 25, as if delineated here in
extenso.
27, At all material times, Sagloor negligently and -iaz bad faith
failed tb adjust plaintiff's claims properly,
28. At all mate,rial ties,
                       m       cr and its agents violated its
                            Sagio
own tules fOr adjusting life jPsuranCe claims.
29, At all material times, Sagicor and its agents violated Title
27 Of. the COde of Alabama.
30. Sa_gicor violated Title 27 of the Code of Alabama in thp
following, non-exclusiVe Particulars: (1) failing to timely
adjust plaintiff's dlaiMs; (21 failing to honor plaintifrS
satisfactorY proof of death; (I) failing to properly train itp
adjusters and agents; (41 failing to provide its adigsterS and
agents with proper Uniform materials with which to properly
evaluate claimS; (5)' any and all misconduct as becomes knOvia
before trial.
30- As a result of its misconduct, Sagicor is liable to
plaintiff for all damages occasioned by its misconduct, specific
and genera4 as well as attorneys' fees, Costs, interests,
Penalties..


  SEVE$TE CAUSE OF ACTION: BAD FAITE
31 -          teelleges and reaVet each and every allegation
contained in Paragraphs   thrOugh 30, as if delineated here in
extens0.
    POrsuant. to Title 27 of the code of Alabama Segicor fUrther
breached its duty of good faith and fair dealing, aa. well as its
affirtatiVe duty to adjust claimS fairly, and promptly and, to
Make a reasonable effart to settle claims with plaintiffa by:
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       itailing to issue a life insUranOe contract to
    plaintiff that Contained exclusionary langUage that is
    narrowly drafted;

    la- Failing. tO issue a life insurance cohttact to.
    Plaintiffs that Contained exClUsionary language that jiMS
    defined: within the agreement;

    C.. Failing" to iSste  life insurance contraCt td
    plaintiffs that, is not designed to be taed to deny
    coVerage for the death Of the insured;

    D.. Failing to issue a poliey Of insurance tnat will
    provide for the death of the insutect;

    E. Failing to provOe a life insurance cOnt4'a.ot that is
    unambiguous;

    F. Failing to pay a settlement within thitty. 00) days
    after the. agreement is reduced te writing;

       Faiiing to Pay the full amount of any claim due the
    plaintiffs within sixty (60) days after receipt of
    satisfaCtory ptoof of loss;

    H. Faildnq to premptly adjust the clait wittin thirty
    (30) daYs of being nOtified by petitioners,

    T. The defendant's failure ahd/Or omissions constitute
    bad faith in that they were arbitrary and capricious,
    all of which entities plaintiffs to recover attorney's
    fees, costs and penalties as allowed by iewl and

       Ahÿ other acts or omissions to be shown at trial on
    the merits,
    3.31, PPfendant Sagicors faliur-es ",7ero willful and/or
intentiOnal and/or arbitrary and capricious so that the
plaintiff is entitled to an award of penalties, ettOrney's fees
.4110 oOsts.


  PRAYER FOR RELIEF
  I1EEREFORE plaintiff is entitled to full insurance cdverage
under thE, Sagicor policy of life insurance for the death o.f :the
insured and other such, equitable relief set forth in, the
petition, includi0g, but not limited to:
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       H, Failing tO promptly adjust the claith within thirty
       (30) daya 'of being notified by petitioners.

      I. The defendant'S failure and/or 'omissions constitute
      bad faith in that they were arbitrary and capricious,
      all of which entitle:a plaintiffs to recover attorney's
      feta, Costs and penalties as allbwed by law; and.

      ,7 7, 1.1W other acts or °Missions to be ahown at tnkal on
      the merits.
   33. -Defendant Sagicor's failures were willful and,or
intentional and/or arbitrary arid capricioua so that the Plaintiff
is entitled to an award of penalties, attorney's fees and costa.


     PRAYER:FOR    maw
     witEREFORE,
              plaintiff is entitled to full insurance coverage
under the Sagicor policy of life insurance for the deathbf the
insured and-Other such, equitable relief set forth in the
petition, including, but not limited to:
   A. A DeciaratiOnand/or Judgment by this CoUrt that the
sUbject pOlicy provides full ineurance coverage'for the death of
the insured;
      A Detlaration and/or Judgment that Sagicor violated.Title
17 of the Code of Alabama.
  C. Court costs, expenses, and judicial interest; and
  D. Any and all other eclui.table relief deemed appropriate by
this Court.
     JURY DEMANid
     The Plaintiff respectfully prays for a trial by jury of all

  WEEREFORE, plainciff,, Miqhael Hutchings, resPectfilllY PraYs
after due PrOceedings be had that there be a judgment entered in
his favor and against defendant awarding damages, prejudqthent
interest; post jUdgment intereat, attOrney's fees and costs,
punitive ahd/Pr exeMO/arY damages as may be allowed by law and
f9r further relief as equity and justice ,require.

Respectfully' subMitted,


MICHAELHUTCHINGS

I HEHEBYt CSRTIFY-THAT MIOWin; HUTCHINGS DID APPEAR SHfORE ME ON
THI4,i3"?' DAY OF      2018: AND SWEARS THE ABOVE TO BE TRUE AND
CO    ECT.

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